Case 3:10-cr-03310-BTM      Document 118      Filed 08/07/14   PageID.479    Page 1 of 6




 1

 2

 3

 4

 5

 6

 7

 8
                           UNITED STATES DISTRICT COURT
 9
                        SOUTHERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA                   ) Civil Case No.: 13-cv-1822-BTM
11                                              ) Crim. Case No.: 10-cr-3310-BTM
12                      Plaintiff,              )
                                                ) ORDER DENYING DEFENDANT’S
13         v.                                   ) MOTION TO VACATE, SET ASIDE,
14                                              ) OR CORRECT HIS SENTENCE
     URIEL ULYSES RIVERA                        ) PURSUANT TO 28 U.S.C. § 2255,
15
                                                ) AND GRANTING CERTIFICATE OF
16                      Defendant.              ) APPEALABILITY
                                                )
17

18
19
           Uriel Ulyses Rivera (“Defendant”), a federal inmate proceeding pro se, has
20
     filed a motion to vacate, set aside, or correct his sentence pursuant to 28 U.S.C. §
21
     2255. For the reasons set forth below, Defendant’s § 2255 motion is DENIED.
22
     However, the Court GRANTS a certificate of appealability.
23
                                      I. BACKGROUND
24
           On August 18, 2010, an indictment was filed, charging Defendant with
25
     conspiracy to import and importation of approximately 4.90 kilograms of heroin into
26
     the United States. (ECF No. 23, Indictment, August 18, 2010.) On January 13, 2011,
27

28                                              1
Case 3:10-cr-03310-BTM       Document 118      Filed 08/07/14    PageID.480      Page 2 of 6




 1   Defendant pled guilty without a plea agreement to Count 1, conspiracy to import
 2   heroin, and the guilty plea was accepted by the Court on January 28, 2011. (ECF
 3   Nos. 49 & 52.) On July 20, 2011, the Court sentenced Defendant to a 120-month
 4   term of imprisonment, followed by a five-year term of supervised release. (ECF Nos.
 5   74, 86.) On September 21, 2012, the United States Court of Appeals for the Ninth
 6   Circuit affirmed Defendant’s conviction and sentence. (ECF No. 105) On August 5,
 7   2013, Defendant filed a motion to vacate, set aside, or correct his sentence pursuant
 8   to 28 U.S.C. § 2255. (ECF No. 106.)
 9                                       II. DISCUSSION
10         Pursuant to § 2255, a prisoner may move to vacate, set aside, or correct his
11   sentence on the ground that “the sentence was imposed in violation of the
12   Constitution or laws of the United States, or that the court was without jurisdiction to
13   impose such sentence, or that the sentence was in excess of the maximum authorized
14   by law, or is otherwise subject to collateral attack.” Defendant argues that he was
15   denied effective assistance of counsel, alleging that “[c]ounsel advised Petitioner to
16   plea guilty, as counsel was under the impression Petitioner would be sentenced for
17   conspiracy to import marijuana, and not for conspiring to import heroin, due to the
18   fact Petitioner was under the impression he was transporting marijuana, and not
19   heroin.” (ECF No. 106, Plaintiff’s Motion at 5A.)
20         A defendant seeking to challenge the validity of his conviction based on
21   ineffective assistance of counsel must demonstrate that his counsel’s performance
22   was deficient and that this deficient performance prejudiced him. Strickland v.
23   Washington, 466 U.S. 668, 687 (1984); Hill v. Lockhart, 474 U.S. 52, 57 (1985)
24   (holding the “Strickland . . . two-part standard . . . [is] applicable to ineffective-
25   assistance claims arising out of the plea process.”). To establish the existence of
26   prejudice in the context of a plea, “the defendant must show that there is a reasonable
27

28                                                2
Case 3:10-cr-03310-BTM      Document 118      Filed 08/07/14   PageID.481     Page 3 of 6




 1   probability that, but for counsel's errors, he would not have pleaded guilty and would
 2   have insisted on going to trial.” Hill, 474 U.S. at 59.
 3         Defendant advances a declaration by his trial counsel. The declaration states in
 4   relevant part:
 5                I advised Mr. Rivera to plead guilty to the conspiracy
 6
                  charge because I believed that the factual basis that he
                  would admit to -- conspiring to import marijuana -- would
 7                be sufficient to convict him of conspiracy to import heroin
 8
                  because I believed that the penalty provisions of 21 U.S.C.
                  § 841 were invoked by the involvement of particular
 9                controlled substances. I advised Mr. Rivera that it did not
10                matter for purposes of his conspiratorial liability and the
                  penalty provision of a 10 year minimum mandatory that he
11                believed the controlled substance to be imported was
12                marijuana and not heroin.

13   (ECF No. 106, Declaration of Counsel).
14
           Trial counsel correctly advised Defendant that his sentence hinged on the
15
     actual drug he imported and that his belief as to what he was importing was
16
     irrelevant. As the Ninth Circuit noted in its decision on Defendant’s direct appeal
17
     (ECF No. 105), Defendant’s argument that the Court erred in imposing a 120-month
18
     mandatory minimum sentence because Defendant believed he was importing
19
     marijuana, not heroin, is foreclosed by United States v. Carranza, 289 F.3d 634 (9th
20
     Cir. 2002). In Caranza, the Ninth Circuit held that a defendant charged with
21
     importing or possessing a drug is not required to know the type and amount of drug.
22
     Id. at 644. All that is required for conviction is that the defendant “believe[] he has
23
     some controlled substance in his possession,” regardless of his belief about the nature
24
     of the substance. Id. (internal quotations omitted).
25
           Defendant alludes to an intent to pursue a claim under United States v. Hunt,
26
     656 F.3d 906 (9th Cir. 2011), but that case is not controlling here. In Hunt, the Ninth
27

28                                               3
Case 3:10-cr-03310-BTM      Document 118       Filed 08/07/14   PageID.482   Page 4 of 6




 1   Circuit found that the district court had erred by sentencing the defendant for
 2   attempted possession with intent to distribute cocaine where the defendant never
 3   admitted that he attempted to possess cocaine. Id. at 912-13. The key distinction
 4   here is that the defendant in Hunt had pled guilty to attempted possession. As the
 5   Ninth Circuit pointed out in Hunt, knowing possession of a controlled substance is an
 6   element of the completed offense, but “attempted possession requires proof of intent,
 7   not knowledge.” Id. at 912 (emphasis original). In other words, a defendant pleading
 8   guilty to attempted possession of a controlled substance must have intended to
 9   possess the specific type of substance, whereas the Court of Appeals in this very case
10   held that the defendant only needed to knowingly conspire to import some type of
11   controlled substance. See also United States v. Salazar, 5 F.3d 445, 446 (9th Cir.
12   1993) (holding defendant was “responsible for the drugs that came through, even if
13   he did not know what drugs they were”). Thus, while Defendant suggests that the
14   intent to import heroin should be an element of his conspiracy charge similar to the
15   intent requirement in Hunt for an attempt charge, the Court of Appeals in this case
16   appears to have rejected that argument.
17         Accordingly, the Court finds that trial counsel’s advice to Defendant was
18   legally correct. Moreover, based on this advice, the Court finds that trial counsel
19   understood that Defendant would be sentenced for conspiring to import a controlled
20   substance that was heroin, not marijuana, and thus he did not advise Defendant to
21   enter a guilty plea while misapprehending the implications of that plea. The Court
22   concludes that trial counsel’s performance was not deficient.
23         Furthermore, even if counsel’s advice was misunderstood by Defendant, the
24   Court ensured during the guilty plea proceeding before sentencing that Defendant
25   was aware of the ten-year-mandatory-minimum he faced if he entered a guilty plea.
26                Court: You understand that if you plead guilty to Count 1
27
                  you could be sentenced up to life in prison?

28                                               4
Case 3:10-cr-03310-BTM        Document 118    Filed 08/07/14    PageID.483     Page 5 of 6




 1

 2
                  Defendant: Yes, your Honor.

 3                Court: And the court would have to impose a mandatory
 4
                  minimum sentence of at least 120 months, that is, ten years
                  in jail, unless in your case you provided substantial
 5                assistance to the government . . . . So unless that one
 6                exception applies, I have to impose, no matter what, a
                  sentence of at least ten years in jail. Do you understand
 7                that?
 8
                  Defendant: Yes.
 9

10   (ECF No. 86, Sentencing Transcript 20:17 - 21:6.)

11                Court: The only way I could impose anything less than ten
12                years in jail is if you cooperate with the government . . . . If
                  that doesn’t happen, there is no judge in the United States,
13                federal judge, who could give you less than ten years in jail
14                . . . . Do you understand that?

15                Defendant: Yes, your Honor.
16
     (Id. at 27:18 - 28:4.)
17

18         Notwithstanding the Defendant’s understanding, he still decided to plead
19   guilty. (Id. at 36:14-16, 46:4-8).
20         In summary, the Court finds that defendant received correct advice under the
21   present law from his attorney regarding his sentence exposure and that defense
22   counsel’s performance was not deficient, and further the Court finds that even if
23   Defendant misunderstood his attorney’s advice, there could be no prejudice as a
24   result because of the Court’s statements during the entry of his plea at the sentencing
25   hearing.
26   //
27   //
28                                               5
Case 3:10-cr-03310-BTM       Document 118    Filed 08/07/14   PageID.484   Page 6 of 6




 1                                   III. CONCLUSION
 2         For the foregoing reasons, the Court DENIES Defendant’s motion under 28
 3   U.S.C. § 2255. The Court GRANTS a Certificate of Appealability. The Clerk shall
 4   enter judgment accordingly.
 5

 6   IT IS SO ORDERED.
 7   Dated: August 6, 2014                  _____________________________________
 8
                                               BARRY TED MOSKOWITZ, Chief Judge
                                                            United States District Court
 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26
27

28                                             6
